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                    UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


   “Baby L.,” a minor, et al.,

                  Plaintiffs,
                                                              Civil Action No. 3:20-cv-9
   v.

   Dr. MARK ESPER, in his official capacity as
         Secretary for the U.S. Department of Defense
         et al.,

                  Defendants.


    UNOPPOSED MOTION TO EXTEND DEFENDANTS’ DEADLINE TO FILE
    SUPPLEMENTAL RESPONSE TO PLAINTIFFS’ MOTION FOR LEAVE TO
          PROCEED USING PSEUDONYMS AND MOTION TO SEAL

         Defendants hereby request a two-week extension of time within which to file a

  supplemental response to Plaintiffs’ Motion for Leave to Proceed Using Pseudonyms and

  Motion to Seal (“Motion to Seal”). Undersigned counsel has conferred with counsel for

  Plaintiffs, who indicates that Plaintiffs do not oppose this request. Good cause exists for

  the requested extension, as set forth below:

         Pursuant to the Court’s Order of March 4, 2020, Defendants filed a response to

  Plaintiffs’ Motion to Seal on March 9, 2020. Pursuant to the Court’s Order of March 10,

  2020, Defendants’ supplemental response is currently due March 23, 2020. On March 11,

  2020, Plaintiffs filed a Notice of Voluntary Dismissal, but the Court has indicated that

  briefing on Plaintiffs’ Motion to Seal should proceed. See Order of Mar. 10, 2020, at 1.

         On March 13, 2020, the President declared a national emergency recognizing the

  threat from the novel (new) coronavirus known as SARS-CoV-2. See Proclamation No.
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  9994, 85 Fed. Reg. 15337, 2020 WL 1272563 (Mar. 13, 2020). In light of this situation,

  undersigned counsel and agency counsel at the Defendant agencies the U.S. Department of

  Defense and U.S. Department of State are currently teleworking full-time and face

  associated unexpected work and home obligations. In addition, undersigned counsel had

  briefing deadlines in two other cases on March 13 and March 20, 2020. Defendants

  therefore request additional time to prepare their supplemental response.

         In addition, in the course of conferring with Plaintiffs, the parties agreed that they

  will communicate regarding the issues raised by Plaintiffs’ Motion to Seal in order to

  explore the possibility of reaching an agreement or clarifying or narrowing the issues in

  dispute. The additional two week period will allow the parties to confer on these issues.

         Accordingly, Defendants respectfully request that the deadline for Defendants to

  file a supplemental response to Plaintiffs’ Motion to Seal be extended up to and including

  April 6, 2020.

  March 20, 2020                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General
                                                ALEXANDER K. HAAS
                                                Director, Federal Programs Branch

                                                /s/ Kathryn L. Wyer
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                                CERTIFICATE OF SERVICE

         The undersigned counsel certifies that on March 20, 2020, a true and accurate copy of

  the foregoing was filed through the Court’s ECF system and automatically served through that

  system on counsel for plaintiffs.

                                                        /s/ Kathryn L. Wyer
                                                       KATHRYN L. WYER




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